Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 1 of 13




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. 10-CR-20242-CMA

      UNITED STATES OF AMERICA,
                     Plaintiff,

      v.

      JOHN UTSICK,
                        Defendant.
      ______________________________/

       DEFENDANT’S MOTION FOR KASTIGAR HEARINGS RE: GRAND JURY,
      DETENTION, AND TRIAL; MOTION FOR GRAND JURY TRANSCRIPTS AND
      COLLOQUY; AND MOTION TO DISMISS FOR GOVERNMENT’S INABILITY
              TO PROVE GRAND JURY EVIDENCE FREE OF TAINT

                 The defendant, John P. Utsick, by and through undersigned counsel, moves the

      Court for the legally-required Kastigar1 hearing to assess whether the government can

      meet its burden of proving that its evidence and colloquy presented to the grand jury were

      free of taint from evidence obtained through its violation of Mr. Utsick’s attorney-client

      privilege and his Fifth Amendment privilege against self-incrimination, and its violation

      of Mr. Utsick’s Fifth and Sixth Amendment rights to counsel, and effective assistance of

      counsel of his choice. Mr. Utsick also renews his pending motions for a hearing pursuant

      to Kastigar to assess whether his detention pre-trial was lawfully obtained – including

      whether the government has truthful and accurate evidence supporting characterization of

      Mr. Utsick as a flight risk as well as whether the government can demonstrate it has

      evidence it can prove is free of taint that it can introduce if this matter is allowed to go to




      1
          Kastigar v. United States, 406 U.S. 441 (1972).
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 2 of 13




      trial.2 Because Mr. Utsick remains detained he asks that this hearing be scheduled as soon

      as possible.

               Failure by the government to prove the evidence it presented by proffer or witness

      to the grand jury was free of taint, direct or indirect, requires dismissal of the Indictment.3

      Should the government be unable to make the legally required proof of lack of taint,

      whether direct or indirect, Mr. Utsick renews his motion for the immediate dismissal of

      the Indictment.

               Mr. Utsick also moves the Court to Order the government to immediately produce

      the transcripts and colloquys of grand jury proceedings related to this Indictment,

      pursuant to the specifically applicable provision of Federal Rule of Criminal Procedure

      6(e)(3)(E)(ii) which mandates disclosure for this motion. Mr. Utsick further moves the

      Court to Order the government to disclose these transcripts and colloquys pursuant to

      6(e)(3)(E)(i) to aid Mr. Utsick during his preparation for hearings and a trial, if it occurs,

      in this matter. These materials will also need to be produced pursuant to the Jencks Act

      should any government attorney or witness who appeared before the grand jury be called

      as a witness by any party to these proceedings.

               These grand jury materials are relevant not only to the instant motion to dismiss

      the Indictment for the introduction to the grand jury of evidence derived directly and

      indirectly from violations of the attorney-client privilege and in violation of the

      Defendant’s Fifth and Sixth Amendment rights, but also to the pending motions to



      2
        DE 173, DE 180, and DE 188. The Defendant has also repeatedly moved on the record for the
      enforcement of its Touhy request, identifying at least some of the witnesses involved in the violation of Mr.
      Utsick’s attorney-client privilege, that witnesses testify in this regard both at trial and at the pre-trial
      hearing required in the event the Indictment is not dismissed beforehand.
      3
        This is subject to harmless error analysis.


                                                           2
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 3 of 13




      dismiss the Indictment and suppress evidence for a broad array of legal and constitutional

      violations.

               As detailed previously in the pending motions (DE 173 and DE 180), the

      government has: 1) violated the statute of limitations, 2) violated the Defendant’s right to

      Speedy Trial,4 3) departed from the proper administration of justice in enabling a civil

      investigation to violate Mr. Utsick’s right to counsel and privileged consultation with his

      attorney, 4) caused the illegal arrest of the Defendant by making false statements as part

      of an Extradition Treaty thereby depriving this Court of personal jurisdiction over the

      Defendant, 5) violated the Extradition Treaty by making false statements in official

      diplomatic documents which requires the dismissal of the Indictment, 6) failed to provide

      to the Court or to the defense materials in its possession, that it had itself generated,

      greatly limiting the criminal sanction that could be imposed in this matter pursuant to the

      Rule of Specialty, 7) violated the Defendant’s Fifth and Sixth Amendment rights to

      effective assistance of counsel and to counsel of his choice, 8) obtained the bulk of the

      evidence in its case by violating the Defendant’s attorney-client privilege, 9) violated the

      Defendant’s privilege against self-incrimination by violating his attorney-client privilege,

      10) engaged in a protracted and profound pattern of misconduct that is “shocking and

      outrageous” such that it violates Due Process, and 11) engaged in a protracted and

      profound pattern of misconduct that violates constitutional rights, statutory rights, jus

      cogens norms of international law, and/or judicial integrity such that the Court’s exercise

      of its supervisory powers to dismiss the Indictment is required.

      4
        DE 187 identifies both further delay and prejudice to the defendant caused by the government’s false
      statements to the court at the pre-trial detention hearing. The government’s false statements at the detention
      hearing were aided by its previous threats at the Initial Appearance to use its discretion to bring legal
      proceedings against Mr. Utsick’s original criminal counsel unless counsel agreed not to remain as counsel.
      Thus new counsel was forced to handle the subsequent detention hearing. DE 187.


                                                            3
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 4 of 13




                 Preliminarily, the Court must examine whether the intrusion into the attorney-

      client privilege is so profound in this case that no Kastigar-type hearing can remedy the

      damage that it has caused. Mr. Utsick continues to maintain that this is the case and that

      dismissal of the Indictment without the need for a Kastigar-type hearing is mandated. The

      government conspired with the Defendant’s attorneys in this matter to effectuate their

      switch from defendant to government, concealed that conspiracy from the court so as to

      engender Court approval and jurisdiction, and then proceeded to assemble a one-sided

      criminal case based almost exclusively on the work of the defendant’s co-opted attorney.5

                 In United States v. Schell, 775 F. 2d 559 (4th Cir. 1985), the Fourth Circuit

      adopted a per se rule mandating dismissal of charges pursuant to the Fifth Amendment

      when an attorney switches sides and implicates the Jekyll and Hyde scenario at work in

      the instant case. In Schell, two of the defendants had briefly retained an attorney who

      represented them solely for the purposes of their testimony as witnesses before a grand

      jury, before terminating his representation. Subsequently, the attorney joined the United

      States Attorney’s Office where he was precluded by the office from working on the

      investigation of those defendants. The attorney did, however, question other witnesses in

      front of the grand jury which elicited responses that mentioned his former clients. The

      Fourth Circuit found that this alone was enough to mandate dismissal of the charges

      against them.

             The confidentiality of the attorney-client relationship is severely compromised, if
      not destroyed, when, after representing a client, a lawyer joins in the criminal prosecution
      of that client with respect to the identical matter about which the attorney originally
      counseled the client. Such switching of sides is fundamentally unfair and inherently
      prejudicial. Without question, the client’s right to a fair trial, secured by the due process


      5
          This is detailed in DE 180.



                                                   4
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 5 of 13




      clauses of the fifth and fourteenth amendments, is compromised under these
      circumstances. Id. at 565.



                 In this case, Mr. Utsick’s attorney, with the assistance of the government, which

      made incomplete disclosures to the court, obtained court approval to become Receiver

      and work extensively with the government, including prosecutors and agents, in crafting

      the criminal case against him. The Receiver immediately made available to the

      government documents and statements made to him by the defendant while the Receiver

      was his attorney which became the core of the government’s criminal case. 6            This

      situation requires immediate dismissal of the Indictment.

                 A similarly unsettling example of government interference with the attorney-

      client relationship occurred in United States v Marshank, 777 F. Supp. 1507 (N.D. Cal.

      1991). That court found:

             …the shocking tale of a criminal defense attorney who was oblivious to the
      professional norms of ethical behavior and a cast of overzealous agents and prosecutors
      who facilitated the attorney’s unethical conduct in an attempt to catch “a big fish.” Id. at
      1512.

                 In Marshank, an attorney provided his mental impressions to the government

      during the investigation of his former clients, while maintaining contact with the clients

      so as to do the government’s bidding. The attorney reaped monetary rewards as a result

      of his cooperation with the government.            The Marshank court found the situation,

      including the government’s attempt to defend it, “astonishing”, id. at 1520, and, with

      respect to the government’s assertion that the defendant had waived the attorney’s




      6
          All of this is documented in DE 180.


                                                     5
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 6 of 13




      conflict of interest, “simply galling”, id. at 1528, among other findings.7 More to the

      legal point, the court found the government’s conduct to be far more than “outrageous”

      enough to justify dismissal of the indictment both as a due process violation, and

      additionally as an exercise of the court’s supervisory powers to preserve judicial

      integrity. In fact, the court dismissed the indictment on four separate grounds, though

      obviously one would have been enough. In sum, the court dismissed the indictment

      because: 1) the government interfered in the attorney-client relationship and violated the

      defendant’s fifth amendment rights, id. at 1523, 2) the government’s conduct was

      “outrageous” and fundamentally unfair and violated the defendant’s fifth amendment

      rights, id. at 1524, 3) the government violated its affirmative obligation not to interfere

      with the defendant’s choice of counsel in violation of the defendant’s sixth amendment

      right to counsel, citing Maine v Moulton, 474 U.S. 159 (1985),8 id. at 1525, and 4) the

      government’s conduct required the court to invoke its supervisory power to dismiss the

      indictment to promote judicial integrity as well as to deter future government misconduct,

      id. at 1529.

               Marshank has many obvious similarities to the instant case. The defendant was

      represented by an attorney who became the central cog in the government’s case against

      him. The government rewarded the attorney for switching sides. The government did not

      disclose this to the court. The government attempted to convince itself and the court that

      the conduct did not interfere with the defendant’s rights by the post-hoc construction of a

      waiver that was uninformed and corrupted by conflict of interest. The government had

      7
        With respect to waiver of the conflict of interest, the court held that such an attorney conflict of interest
      must be disclosed in court and on the record before an inquiry into whether it was knowing and voluntary
      could even begin. Id. at 1528.
      8
        Had the Marshank case been active today, the Supreme Court opinion in Luis v United States, 578 U.S.
      ___ (2016) would have provided further support.


                                                              6
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 7 of 13




      scant evidence other than what was provided by the suddenly adverse defense attorney.

      This conduct is more than enough to require a legal finding of “outrageousness”

      mandating dismissal of the indictment.

               The instant case exceeds even Marshank in the scope and breadth of government

      misconduct. After co-opting the defendant’s attorney to become Receiver, the

      government starved out the attorneys who replaced him by cutting off the defendant’s

      access to legal fees and used the defendant’s funds to finance their own case and the co-

      opted attorney. When the defendant’s counsel of choice appeared at the Initial

      Appearance, the government threatened him with a legal action directed solely against

      him, but not against any of the other defense attorneys who switched sides. Exhibit K-3.

               After running off defendant’s counsel of choice,9 the government proceeded to

      run unimpeded in the fields of revisionism in its proffer to the Court at the detention

      hearing. The government liberally used ex parte procedures to seal the indictment under

      dubious circumstances, depriving the defendant of the protection of the statute of

      limitations and of his right to Speedy Trial. Having dubiously obtained the sealing of the

      indictment, the government used the cloak of secrecy to fabricate odious charges against

      the defendant to secure his arrest in a foreign land in a maximum security prison where

      no American lawyer would have local access to him. The government brazenly violated

      the applicable international treaty by providing false information to the Brazilian

      authorities to obtain the defendant’s arrest, and then provided misleading documents and

      statements about the process to the Court and to the defendant, while boasting of its



      9
       The government is compounding the prejudice it is causing by refusing to acknowledge that there is no
      basis for these threats, by refusing to acknowledge its conflicted position, and by abusing its conflicted
      position to interfere with the Defendant’s ability to call this attorney as a witness.


                                                            7
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 8 of 13




      actions.     Contrary to the government’s insouciant representations to the Court, this

      conduct is not, and cannot, represent its finest hour.

                 Realistically, even if the Court somehow disagreed with the findings of the Schell

      and Marshank courts, given the complete absence of any measures taken by the

      government to even pretend to mitigate the damage caused by such a profound conflict of

      interest and violation of the attorney-client privilege, the 11th Circuit has explained that

      the government faces a next to impossible task in salvaging its investigation. As a

      practical matter, satisfying the heavy burden in a Kastigar hearing requires the

      prosecutors to show that they and their agents were not only aware of the problem but

      further followed reliable procedures for segregating tainted evidence and its fruits from

      prosecutors and agents. U.S. v Hampton, 775 F. 2d 1479, 1490 (11th Cir. 1985)

             In United States v Rasco, 262 F.R.D. 682, 688 (S.D. Ga 2009) (noting that the

      Hampton observation applies any time a Fifth Amendment privilege is implicated in

      obtaining an indictment) the court surveyed the significant 11th Circuit cases on this

      subject and found that “where the record shows irreparable taint, courts terminate the

      prosecution outright; close cases warrant full Kastigar hearings.” Id. quoting United

      States v Schmidgall, 25 F. 3d 1523, 1532 (11th Cir. 1994).

             Nothing remotely close to responsible segregation of tainted evidence occurred

      here. At all times the government proceeded in total ignorance, whether willful or

      blissful, of the pervasive ramifications of the obvious privilege problem, in which it was

      itself complicit. This Court must terminate this prosecution outright.

             There is nothing in the record to demonstrate that the government has presented

      any evidence to the grand jury, or is capable of producing any evidence if this matter




                                                     8
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 9 of 13




      were actually permitted to proceed to trial, that is free of taint. The government made a

      decision to premise its entire criminal case on: 1) the statements of the defendant’s

      former attorney and his retained accountant allegedly repeating what the defendant told

      them when they represented him, or on 2) the books and records the defendant produced

      upon order of his own attorneys in order for the Receiver to contrive purported financial

      records the government would need in a criminal case. The criminal investigatory tools at

      the government’s disposal were used simply to menace and harass the defendant with the

      ever present threat of a pre-dawn raid, or to effectuate conversations with former business

      associates implicitly demonstrating that a potential criminal case awaited further business

      efforts by Mr. Utsick, or to bolster otherwise unsubstantiated media comments about

      unproved but endlessly pending sealed charges.10

              This decision was made by the government despite knowing that the Akerman

      law firm including the Receiver, along with the Kluger Peretz Berlin law firm, had

      represented the defendant for nine months (in Akerman’s case) immediately prior to the

      start of the Receivership, and had retained as part of its representation of the defendant

      the very accountants upon whom the Receivership also relied. The bulk of the work

      performed by these accountants was accomplished in the putative legal service of the

      defendant and paid for by the defendant just prior to the start of the Receivership. The

      Akerman law firm and the Kluger Peretz Berlin law firm (which became General


      10
         This manipulation of the civil and criminal processes is an example of the improper administration of
      justice used to strike charges in United States v Scrushy, 366 F. Supp. 2d 1134, 1140 (N.D. Alabama 2005).
      “Because this is a case where the government has undoubtedly manipulated simultaneous criminal and civil
      proceedings, both of which it controls, ‘there is a special danger that the government can effectively
      undermine rights that would exist in a criminal investigation by conducting a de facto criminal
      investigation using nominal civil means. In that special situation the risk to individuals’ constitutional
      rights is arguably magnified.’ Sterling National Bank v A-1 Hotels International, 175 F.Supp.2d 573, 579
      (S.D.N.Y 2001)” quoting SEC v Healthsouth Corp., 261 F.Supp.2d 1298, 1326 (N.D. Al 2003). The
      combined effect of the government’s actions and misconduct also requires dismissal.


                                                          9
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 10 of 13




      Counsel to the Receiver), together with the government, conspired to install Akerman as

      the Receiver, with complete control over the Receivership funds.11

               This process was reiterated early on in the criminal investigation, well prior to the

      Indictment in this case, in meetings between the prosecution and investigating case

      agents and the Receiver. The Receiver even provided them the names of the SEC

      officials who provided their approval of Akerman’s overnight transformation from

      defense attorney to Receiver.12 The prosecutors and case agents then spent considerable

      time reviewing the SEC complaint and related court filings seeking court approval of

      Akerman as Receiver, (years later even citing it to the Brazilian authorities as a key part

      of their investigation), in which the SEC falsely declares to the United States District

      Court that Akerman had no conflict of interest in the matter, because Akerman never

      represented the defendant.13

               Still the government continued its leisurely pace forward in its investigation,

      allowing seven years to pass before seeking to arrest the indigent defendant and to finally

      unseal the Indictment, without using the criminal investigatory powers of the grand jury

      or taking any steps at all to mitigate taint. The government was demonstrably content to

      rely almost exclusively, in its distant criminal case, on the privileged materials it had

      conspired to obtain from the defendant.


      11
         As another example of the government’s duplicity and concealment of material facts to the courts it has
      interacted with in this matter (in addition to those shown in DE 173 and 180 and other pleadings), consider
      the selective disgorgement of attorneys fees. Akerman, Kluger Peretz Berlin, and Michael J. Rosen all
      represented defendant together at the same time, and were paid with the same funds. The government has
      only sought disgorgement from the defendant of the fees paid to Rosen, the sole attorney of the defendant
      who did not join the Receivership, and also the one who as a criminal attorney, presents the strongest claim
      to the funds. Exhibit K-3.
      12
         The SEC officials specifically cited in this process are then-Assistant Regional Director Teresa Verges,
      and attorneys Yolanda Gonzalez and Andre Zamorano. The defendant has requested their testimony at both
      trial and pre-trial hearings in this matter.
      13
         This is detailed with exhibits in DE 180.


                                                          10
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 11 of 13




              Once a defendant demonstrates that privileged materials have been obtained by

      the government in its investigation, the government bears the “heavy” burden of proving

      the absence of taint in the grand jury and in the trial evidence. Hampton, at 1485, quoting

      Kastigar at 461. Mere denials of taint are insufficient, even if made in good faith. The

      government must systematically establish, on the record, step by step, item by item,

      legitimate and independent sources for each and every item of evidence presented, free of

      poisonous fruit. This means no leads or any shaping of any witness testimony through

      questioning by investigators can be derived from the privileged material.14 The defendant

      bears no obligation at all in this regard. Id. at 1530. Otherwise the indictment must be

      dismissed. Hampton, at 1487-1488. The protection against self-incrimination has been

      violated. U.S. v. Schmidgall, 25 F.3d 1523, 1528 (11th Cir. 1994).

              As the privileged material here was obtained at the outset of, and continuously

      consulted throughout the entirety of, the criminal investigation, the government’s

      obligation is manifestly impossible for it to obtain in this case.

              Any compulsory discovery by extorting the party’s oath, or compelling the
              production of his private books and papers, to convict him of crime, or to forfeit
              his property, is contrary to the principles of free government. It is abhorrent to the
              instincts of an Englishman; it is abhorrent to the instincts of an American. It may
              suit the purposes of despotic power; but it cannot abide the pure atmosphere of
              political liberty and personal freedom. North I at 853 quoting Boyd v United
              States, 116 U.S. 631-32 (1886).

              The privilege against self-incrimination is

              “the essential mainstay of our adversary system”, the Constitution requires “that
              the government seeking to punish an individual produce the evidence against him
              by its own independent labors, rather than by the cruel, simple expedient of


      14
        The government must prove that no evidence was “derived, shaped, altered, or affected” by any exposure
      to the privileged testimony. The government must further prove that no witness drew in any way upon
      privileged material. U.S. v Martinez, 81 F. Supp.3d 1046, 1054 (D. Co. 2015) citing among others U.S. v
      North I, 910 F.2d 843, 872 (D.C. Cir. 1990) and U.S. v North II, 920 F2d 940, 943 (D.C. Cir. 1990).


                                                        11
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 12 of 13




              compelling it from his own mouth.” North I at 853 quoting Miranda v Arizona,
              384 U.S. 436, 460 (1966).


              The Defendant therefore moves this Court to order the dismissal of the Indictment

      because it was obtained using evidence that the government cannot prove was completely

      free of taint.

              In the alternative the Defendant moves for the immediate production by the

      government of grand jury transcripts and colloquys, and for the government to meet its

      burden, at a Kastigar hearing, of proving that evidence it introduced at the grand jury, and

      that which it will introduce at trial, and that which it will produce at any detention

      hearing, is directly and indirectly free of all taint from privileged information.

              Pursuant to Local Rule 88.9, undersigned counsel has contacted AUSA John

      Gonsoulin, who opposes the defendant’s requests contained within this motion.


                                                     Respectfully Submitted,
                                                     s/ Eric Lisann
                                                     Eric Lisann, Esq.
                                                     Pro Hac Vice
                                                     Email: eric.lisann@lisann.com
                                                     Lisann Law International PC
                                                     6841 Elm Street
                                                     Suite 1275
                                                     McLean, VA 22101
                                                     Telephone: 703-989-6214
                                                     s/ David S. Weinstein
                                                     David S.Weinstein, Esq.
                                                     (As Local Counsel)
                                                     Fla. Bar No. 749214
                                                     Email: dweinstein@cspalaw.com
                                                     Clarke Silverglate PA
                                                     799 Brickell Plaza
                                                     Suite 900
                                                     Miami, Florida 33131
                                                     Telephone: (305) 377-0700
                                                     Facsimile: (305) 377-3001



                                                    12
Case 1:10-cr-20242-CMA Document 191 Entered on FLSD Docket 05/17/2016 Page 13 of 13




                                 CERTIFICATE OF SERVICE

                    I hereby certify that on May 17, 2016, the undersigned electronically filed

      the foregoing document with the Clerk of the Court using CM/ECF

                                                  s/ Eric Lisann
                                                  s/ David S. Weinstein




                                                13
